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                   IN THE UNITED STATES DISTRICT COURT
                  FOR THE WESTERN DISTRICT OF WISCONSIN

DENNIS HOHOL,

         Petitioner,
                                                       Case No. 20-cv-873-bbc
    v.

STATE OF WISCONSIN,

         Respondent.


                            JUDGMENT IN A CIVIL CASE


         IT IS ORDERED AND ADJUDGED that judgment is entered dismissing

Dennis Hohol’s petition for a writ of habeas corpus without prejudice.




         /s/                                               11/9/2020
         Peter Oppeneer, Clerk of Court                          Date
